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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

COCOON INNOVATIONS, LLC,                         )
                                                 )     Case No. 18-cv-01875
                       Plaintiff,                )
                                                 )     Judge Matthew F. Kennelly
       v.                                        )
                                                 )     Magistrate Judge Jeffrey T. Gilbert
TYFAMILY, et al.,                                )
                                                 )
                       Defendants.               )
                                                 )

                    PLAINTIFF’S MOTION FOR ELECTRONIC
             SERVICE OF PROCESS PURSUANT TO FED. R. CIV. P. 4(f)(3)

       Plaintiff Cocoon Innovations, LLC (“Cocoon”) seeks this Court’s authorization to

effectuate service of process by e-mail and electronic publication in an action arising out of 15

U.S.C. § 1114; Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a); and the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq. A Memorandum of Law in Support is

filed concurrently with this Motion.

Dated this 16th day of March 2018.          Respectfully submitted,


                                            /s/ Justin R. Gaudio
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